  Case 16-16220       Doc 27   Filed 06/07/18 Entered 06/08/18 06:43:09             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:     16-16220
Anthony Cirrincione                          )
                                             )               Chapter: 13
                                             )
                                                             Honorable Timothy Barnes
                                             )
                                             )
               Debtor(s)                     )

               ORDER ON MOTION TO AUTHORIZE SALE OF REAL ESTATE

        THIS CAUSE COMING ON TO BE HEARD on the motion of Debtor to authorize sale of the
real estate; the court being advised in the premises and due notice having been given;

  IT IS HEREBY ORDERED:

  1. The Debtor is authorized to sell the real estate located at 506 Onyx Ct., Schaumburg, IL 60194.

  2. The mortgage lien held by BMO Harris Bank shall be paid in full at closing pursuant to a proper
payoff letter or, in the event of a short-sale, payoff will be subject to BMO Harris Bank short-sale
approval.

   3. Debtor will provide the Trustee with a complete copy of the closing statement within 10 days of
closing.

   4. Debtor will be paying off his Chapter 13 Bankruptcy with proceeds from the sale, the total
estimated payoff for his Chapter 13 Bankruptcy per the trustee website is, $33,397.98. Debtor will
tender this amount over to the trustee within 10 days of the closing.

                                                         Enter:


                                                                  Honorable Timothy A. Barnes
Dated: June 07, 2018                                              United States Bankruptcy Judge

 Prepared by:
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